        Case 1:18-cv-04789-LMM Document 5-6 Filed 10/17/18 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

GEORGIA MUSLIM VOTER                       )
                                           )
PROJECT and ASIAN-AMERICANS                )
ADVANCING JUSTICE-ATLANTA,                 )
                                           )
                                           )
       Plaintiff,                          ) Civil Action No.: 1:18-cv-04789-LMM
                                           )
                                           )
vs.                                        )
                                           )
                                           )
BRIAN KEMP, in his official capacity )
as the Secretary of State of Georgia; and )
GWINNETT COUNTY BOARD OF ))
VOTER REGISTRATION AND                     )
ELECTIONS, on behalf of itself and )
                                           )
similarly situated boards of registrars in )
all 159 counties in Georgia,               )
                                           )
                                           )
       Defendants.                         )
                                           )

                             [PROPOSED] ORDER

      For the reasons set forth in Plaintiffs’ Memorandum of Law in Support of

Plaintiffs’ Motion for a Temporary Restraining Order, the Court hereby GRANTS

Plaintiffs’ Motion for a Temporary Restraining Order and ORDERS as follows:

      The Secretary of State’s Office shall issue the following instructions to all

county boards of registrars, boards of elections, election superintendents, and

absentee ballot clerks:
        Case 1:18-cv-04789-LMM Document 5-6 Filed 10/17/18 Page 2 of 3




1)    All county elections officials responsible for processing absentee ballots

shall not reject any absentee ballots due to an alleged signature mismatch unless

the voter is given pre-rejection notice, an opportunity to resolve the alleged

signature discrepancy, such as by confirming identity by providing photo

identification by e-mail, fax, mail, or in-person, and an opportunity to appeal,

pursuant to the existing notice and opportunity procedures for other absentee voters

set forth in O.C.G.A. § 21-2-230(g). The voter should have the opportunity to do

so within three days after Election Day or three days after they receive pre-

rejection notice, whichever is later; with an opportunity to appeal.

2)    All county elections officials responsible for processing absentee ballot

applications shall not reject any absentee ballot applications due to an alleged

signature mismatch unless the voter is given pre-rejection notice an opportunity to

resolve the alleged signature discrepancy, such as by confirming identity by

providing photo identification by e-mail, fax, mail, or in-person, and an

opportunity to appeal, pursuant to the existing notice and opportunity procedures

for other absentee voters set forth in O.C.G.A. § 21-2-230(g). The voter should

have the opportunity to do so up to the Friday before Election Day.
        Case 1:18-cv-04789-LMM Document 5-6 Filed 10/17/18 Page 3 of 3




3)     All county elections officials responsible for processing absentee ballot

applications and absentee ballots must provide notice of potential rejection within

one day of the rejection decision.



_________________________

The Honorable Leigh Martin May
United States District Judge




_________________________

Date
